

BGC Partners, Inc. v Avison Young (Can.), Inc. (2022 NY Slip Op 03436)





BGC Partners, Inc. v Avison Young (Can.), Inc.


2022 NY Slip Op 03436


Decided on May 26, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 26, 2022

Before: Manzanet-Daniels, J.P., Kapnick, Shulman, Rodriguez, Pitt, JJ. 


Index No. 652669/12 Appeal No. 16031 Case No. 2021-02608 

[*1]BGC Partners, Inc., et al., Plaintiffs-Appellants,
vAvison Young (Canada), Inc., et al., Defendants-Respondents.


Nirav S. Shah, New York, for appellants.
Steptoe &amp; Johnson LLP, New York (Nathaniel Kritzer of counsel), for respondents.



Order, Supreme Court, New York County (Melissa A. Crane, J.), entered July 1, 2021, which denied plaintiffs' motion to renew their motion for leave to file a second amended complaint asserting claims for trade secret misappropriation and aiding and abetting breaches of the duty of fidelity, unanimously affirmed, with costs.
The court properly denied plaintiffs' motion to renew their motion for leave to file a second amended complaint based on evidence discovered after the denial of the motion for leave to amend (see CPLR 2221[e]). In a prior appeal from the order that decided plaintiffs' original motion for leave to amend, we directed the court to enter judgment dismissing this action with prejudice on the ground that, by the time plaintiffs made that motion, we had already dismissed the claims remaining in the amended complaint, i.e., theft of trade secrets and aiding and abetting breach of the duty of fidelity, leaving no complaint to amend (BGC Partners, Inc. v Avison Young [Can.] Inc., 192 AD3d 498 [1st Dept 2021], lv dismissed 37 NY3d 1226 [2022]). Further, during the pendency of the motion to renew and the appeal from the denial of the motion to amend, we issued the above-cited order directing the court to enter judgment dismissing the action with prejudice and denied a motion for reargument or leave to appeal to the Court of Appeals, despite the fact that we had been presented with the newly discovered evidence that was the basis for the motion to renew. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 26, 2022








